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                           United States District Court
                                  EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION

   JASON LEE VAN DYKE                             §
                                                  §
   v.                                             §   Civil Action No. 4:18-cv-00247
                                                  §   Judge Mazzant
   THOMAS RETZLAFF, a/k/a DEAN                    §
   ANDERSON, d/b/a VIA VIEW FILES                 §
   LLC, and VIA VIEW FILES

                                             ORDER

         Pending before the Court is parties’ Agreed Motion to Vacate Mediation Order (Dkt. #210).

. The Court finds that the Motion should be GRANTED.

         It is therefore ORDERED that the parties shall not be required to mediate this case, and

  the portion of the Court’s scheduling order compelling mediation is VACATED.

         IT IS SO ORDERED.
         SIGNED this 27th day of August, 2020.




                                       ___________________________________
                                       AMOS L. MAZZANT
                                       UNITED STATES DISTRICT JUDGE
